                   Case 5:20-mj-00206-DUTY Document 3 Filed 05/01/20 Page 1 of 2 Page ID #:103




AO 93C (Rev. 8/18) Warrant by Telephone of Other Reliable Electronic Means                                     0 Original   0 Duplicate Original



                                                         UNITED STATES DISTRICT COURT
                                                                                                for the
                                                                               Central District of Cal ifornia

                                    In the Matter of the Search of                                 )
                            (Briefly describe I1,e property 10 be searcl,ed or idemify   I1,c      )
                                           person by name a11d address)                            )      Case No. 5:20-MJ-00206
                     Four digital devices seized on April l, 2020 and                              )
                    currently maintained in the custody of the United                              )
                       States Border Patrol in Murrieta California                                 )
                                                                                                   )
                                                                                                   )


                          WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
To:              Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search
of the followi ng person or property located in the Central District of California (ide111if y 1/te p erson or describe 1/te properly 10 be searched
and give ils location) :


            See Allachment A

        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (ide111ifv 1/te person or d escribe 1/te property 10 be sei:ed):

            See Allachment 8

             Such affidavit(s) or testimony are incorporated herein by reference and attached hereto.

                 YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of its issuance (not 10 exceed 14 days}
             (gJ in the daytime 6:00 a.m. to I 0:00 p.m.                      0     at any time in the day or night because good cause has been established.
        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from ·whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to the U.S. Magistrate Judge on dutv at the time of the return
through a filing with the Clerk's Office.
        0 Pursuant to 18 U,S,C, § 3103a(b). I find that immediate notification may have an adverse result listed in 18 lJ,S,C,
.§.11Q.5, (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (c heck 1/ie appropriate box)
             0     for_ _days (not 10 e.rceed 30)                 0     until, the facts justifying, the later specific date of


Date and time issued:                       April 2, 2020 at 5:50 p.m.
                                                                                                            - ~ ~ -··
                                                                                                                             Judge ·s signature

r ,·,., ,,,,. , "",,,,,,.. .,          _l~iv,-· n:;id<.· CA                                                   Hon. Kenl y Kiya Kato, U .S.    Magistrate Judge
                                                                                                                            Primed name and title

AUSA : Byron T uyay (951-276-6230)
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AO 93C (Rev. 8/18) Warr~nl by Telephone of01hcr Reliable Elcmonic Means (Page 2)

                                                                           Return
Case No.:                               Date and time warrant executed:                 Copy of warrant and inventory left with:
   5:20-MJ-00206                             April 8, 2020
Inventory made in the presence of:

Inventory of the property taken and name of any person(s) seized:
     a.    ("SUBJECT DEVICE l ") Samsung Galaxy J7 Crown; Serial Number: R58K9 l l WLSP; No items seized.
     b.    ('SUBJECT DEVICE 2") Samsung Galaxy A l0E; Serial Number: RF8N307PK5N; 15 SMS Messages; 6 Images.
     c.    ('SUBJECT DEVICE 3") Samsung Galaxy A l0E; Serial Number: RZ8N2213KSJ ; l MMS Message; 5 SMS
     Messages; l Image.
     d.    ("SUBJECT DEVICE 4") LG Phoenix 4; Serial Number: 9 10VTVR685175; No items seized.




                                                                        Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:         oWo/ 1-0
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